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                 6
                 7
                 8                           UNITED STATES DISTRICT COURT
                 9                      SOUTHERN DISTRICT OF CALIFORNIA
                 10
                 11 BROOKS ENTERTAINMENT, INC.,             CASE NO. 3:21-CV-02003-TWR-MDD
                 12             Plaintiff,                  [Assigned to Judge Todd W. Robinson]
                 13       v.
                                                            MEMORANDUM OF POINTS AND
                 14 ACTIVISION BLIZZARD, INC. AND           AUTHORITIES IN SUPPORT OF
                    ROCKSTAR GAMES, INC.,                   NOTICE OF MOTION AND
                 15                                         MOTION FOR SANCTIONS
                             Defendants.                    PURSUANT TO FED. R. CIV. P. 11
                 16
                 17                                         [Memorandum of Points and
                                                            Authorities, Declarations of Marc E.
                 18                                         Mayer and James Lodato, and
                                                            [Proposed] Order Filed Concurrently
                 19                                         Herewith]
                 20                                         Courtroom:       3A (3rd Floor)
                                                            Date:            May 26, 2022
                 21                                         Time:            1:30 pm
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                  1                                    INTRODUCTION
                  2         This is one of the rare instances in which a lawsuit is so blatantly frivolous
                  3 that sanctions are not just appropriate, but are necessary to send a message and deter
                  4 counsel from future abuses of the judicial process. Specifically, by this Motion,
                  5 Defendant Activision Publishing, Inc. (“Activision”) requests that, pursuant to Fed.
                  6 R. Civ. P. 11, the Court strike the Complaint and order Plaintiff’s counsel, Procopio,
                  7 Cory, Hargreaves & Savitch LLP (“Procopio”), to pay Activision for the fees
                  8 incurred in its defense of a Complaint that is so lacking in evidentiary support and
                  9 legal basis that no reasonable counsel (far less experienced intellectual property
                 10 counsel) could have concluded that its filing was consistent with their obligations as
                 11 officers of the court.
                 12         At the heart of this case are allegations that Activision, one of the world’s
                 13 leading video game companies and the publisher of the popular Call of Duty game
                 14 franchise, infringed the trademarks, copyrights, and rights of publicity of a financial
                 15 consulting company (and its owner, Shon Brooks) because it chose the name “Sean
                 16 Brooks” for a minor supporting character in the 2016 game Call of Duty: Infinite
                 17 Warfare (the “Game” or “Infinite Warfare.”). These claims are nothing short of
                 18 delusional. Leaving aside that “Sean Brooks” is a very common name shared by
                 19 hundreds (if not thousands) of people around the world and that Activision’s
                 20 character is named “Sean” (not “Shon”), the assertion that Activision’s fictional
                 21 character (the “Brooks Character”), an armored Irish space marine, somehow “stole”
                 22 the name, image and likeness of Shon Brooks, an African American San Diego-
                 23 based financial consultant and cigar salesman, is simply absurd. And if that claim
                 24 were not strange enough, Plaintiff also claims that Infinite Warfare, an intense,
                 25 mature science fiction military action shooter, is substantially similar to undisclosed
                 26 and unpublished concepts for two educational games designed to teach children
                 27 about the stock market and the U.S. banking system. Anyone who has played
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                  1 Infinite Warfare for even a few minutes would realize that Infinite Warfare has
                  2 nothing to do with the stock market or banks, and is not a game designed for
                  3 children under 17.
                  4         It would be one thing if this lawsuit had been prepared and filed by a pro se
                  5 plaintiff who lacks knowledge of copyright and trademark law. But this Complaint
                  6 was prepared and filed by a major San Diego firm with more than 200 attorneys --
                  7 and with an intellectual property practice staffed by “seasoned” lawyers “that
                  8 manage complicated legal intellectual property challenges.” Declaration of Marc E.
                  9 Mayer (“Mayer Decl.”), ¶ 2 & Exs. 1-2. Lead counsel for Plaintiff, Lisel Ferguson,
                 10 is the head of Procopio’s intellectual property department, is among AmLaw’s “Top
                 11 Rated Lawyers in Intellectual Property Law,” and has practiced law for more than
                 12 20 years. Id., Ex. 3; see also id., Ex. 4. Procopio and its partners should have
                 13 known better than to file and pursue this lawsuit, and they must have known (or at
                 14 least suspected) that this case was frivolous when they filed it.
                 15         Activision is mindful of the gravity of this Motion. Activision very rarely
                 16 seeks sanctions against opposing counsel, and only does so in the most egregious
                 17 circumstances. However, this case is unusual in that even the most rudimentary
                 18 investigation would have confirmed the falsity of the allegations and complete lack
                 19 of supporting caselaw. In fact, the Complaint is so obviously false, on so many
                 20 points, that counsel could not possibly have played the games at issue, researched
                 21 the Call of Duty franchise, or reviewed and considered the surrounding facts. It
                 22 does not even appear that counsel took the time to confirm their client’s own over-
                 23 the-top representations about its business. Perhaps most egregiously, even after
                 24 Activision attempted to explain the facts to Plaintiff’s counsel, they continued to
                 25 embrace their false factual and frivolous legal positions. Had counsel taken their
                 26 Rule 11 obligations seriously, this motion – and thousands of dollars of unnecessary
                 27 legal fees – could have been avoided.
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                  1         Accordingly, Activision respectfully requests that the Court dismiss
                  2 Plaintiff’s Complaint as against Activision with prejudice and order Plaintiff’s
                  3 counsel and their law firm to reimburse Activision for the reasonable attorney’s fees
                  4 and costs incurred in connection with defending against this objectively meritless
                  5 lawsuit.
                  6
                  7 I.      STATEMENT OF FACTS
                  8         A.     Plaintiff and Its Owner Shon Brooks.
                  9         According to the Complaint, Plaintiff is a “financial and entertainment
                 10 consultant [sic] corporation,” “formed in 2002,” “which helps its customers build
                 11 their financial empire safely and hosts a TV Show aimed at encouraging and
                 12 empowering youth to take control of their destiny and become successful adults.”
                 13 Dkt. No. 1 (“Complaint” or “Compl.”), ¶ 9. The founder, CEO, and Chief Financial
                 14 Officer of Plaintiff Brooks Entertainment, Inc. is an individual named Fran Shatone
                 15 Brooks a/k/a “Shon Brooks.” Id. Brooks claims to be the “#1 top achiever in the
                 16 nation in financial services” and an “award winning television talk show host.” Dkt.
                 17 No. 21-3, 1 Exs. 5-6 at pp. 23, 28. Even a cursory review of publicly available
                 18 information reveals that Brooks’ business activities are grossly exaggerated. See,
                 19 e.g., id., Exs. 5-7, 9, 24-25.
                 20         Plaintiff’s intellectual property rights purportedly include a registered
                 21 trademark in the name SHON BROOKS (Compl., ¶14); exclusive rights in Shon
                 22 Brooks’ name, image, and likeness (id., ¶ 58); and registered copyrights in
                 23 unpublished, unidentified “concepts” that Brooks prepared for two educational
                 24 video games about financial management, namely, Stock Picker and Save One Bank
                 25 (id., ¶ 39). Plaintiff has described Stock Picker as a “game [that] is downloadable
                 26
                     In effort to avoid duplication of exhibits, Activision cites to the prior-filed Exhibits
                      1

                 27 to the Declaration of Marc E. Mayer in support of Activision’s Motion to Dismiss
                    and Special Motion to Strike (Dkt. No. 21-3) (“Mayer MTD Declaration”) in this
    Mitchell     28 Rule 11 Motion where possible.
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                  1 through the internet and covers the fast-paced, and often misunderstood, world of
                  2 the stock market, Wall Street, and the impact they have on the economy. Students
                  3 can use play money to compete with different classrooms around the country in
                  4 picking and investing in the most viable stocks.” Dkt. No. 21-3, Ex. 7 at p. 241; see
                  5 also id., Ex. 8 at p. 244. Plaintiff described Save One Bank as a game in which
                  6 “[a]gents at Save One Bank will embark on a mission in 18 months to doggedly
                  7 pursue greedy financial executives.” Id., Ex. 9 at p. 247; see also id., Ex. 10 at p.
                  8 254.
                  9         Plaintiff’s purported games were never actually developed and are not
                 10 available to the public. See Mayer Decl., ¶ 5. Plaintiff has never released or posted
                 11 any images, graphics, gameplay videos, or other material from its purported games,
                 12 and his counsel did not include any images, graphics, or gameplay descriptions in
                 13 the Complaint. Id. (Notably, Plaintiff’s counsel has refused to provide Activision
                 14 with any of Plaintiff’s copyrighted works. Id., ¶ 7.) Accordingly, members of the
                 15 public (including Activision) cannot readily ascertain or review the content of any of
                 16 Plaintiff’s purported games.
                 17         B.    Activision, Call of Duty, and Infinite Warfare.
                 18         Activision is a leading worldwide developer, publisher, and distributor of
                 19 interactive entertainment products, including the extremely popular Call of Duty
                 20 series of video games. See Declaration of James Lodato dated February 28, 2022
                 21 (“Lodato Decl.”), ¶ 2. The Call of Duty games are military action games “in which
                 22 a player assumes control of a military soldier and fights against a computer-
                 23 controlled or human-controlled opponent across a variety of computergenerated
                 24 battlefields.” Novalogic, Inc. v. Activision Blizzard, 41 F. Supp. 3d 885, 890 (C.D.
                 25 Cal. 2013); see also Lodato Decl., ¶¶ 3-4. Activision released its first Call of Duty
                 26 game in 2003, and to date has released eighteen “core” Call of Duty titles for video
                 27 game consoles and PCs, plus various spin-off titles. Id., ¶ 2.
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                  1         The thirteenth installment of the Call of Duty series is Call of Duty: Infinite
                  2 Warfare, which was released on or about November 4, 2016. Id., ¶ 6. Like other
                  3 Call of Duty games, Infinite Warfare includes both a single-player story-based
                  4 “campaign” mode, as well as several multiplayer modes in which players either
                  5 compete against each other (solo or in teams) or work together to defeat an invading
                  6 zombie army. Lodato Decl., ¶¶ 4, 7-8; see also Dkt. 21-3, Ex. 1.2
                  7         Infinite Warfare’s campaign mode is a far-future military space thriller, set in
                  8 a world where mankind has colonized the solar system and its survival depends
                  9 upon mining and exploiting the resources of the planets and their moons. See
                 10 Lodato Decl., ¶ 7; Dkt. 21-3, Ex. 1. The player steps into the shoes of Captain Nick
                 11 Reyes, an officer of “SATO” (the “Solar Associated Treaty Organization”), a
                 12 military force tasked with defending Earth and its colonies from military threats. Id.
                 13 As the game opens, SATO has learned that an extremist leader from Mars has risen
                 14 to power and seeks to both destroy Earth’s population and take control of the solar
                 15 system. Id. In an effort to save Earth’s inhabitants, the player engages in a variety
                 16 of high-risk, action-packed missions on planetary surfaces, in zero-gravity
                 17 environments, or in small fighter spaceships called “Jackals.” Id. These missions
                 18 include defending a moon base from enemy forces, invading and destroying an
                 19 enemy facility on Saturn’s moon Titan, and stealing a prototype vehicle from an
                 20 enemy spaceship. Id. Between missions, the player may explore Reyes’ military
                 21 space ship, Retribution, where the player can customize weapons, watch news reels,
                 22 and select missions. Id.
                 23         The crew of the Retribution is a multinational cast of characters, including
                 24 Lieutenant Nora Salter, a robot sidekick E3N (or “Ethan”), Staff Sergeant Usef
                 25
                 26  Exhibit 1 to the Mayer MTD Declaration is a physical exhibit—in particular, a
                      2

                    retail copy of Infinite Warfare as made available for the Microsoft Xbox platform—
                 27 which has been lodged separately with the Court. See Dkt. No. 24. Exhibit 4 to the
                    Mayer MTD Declaration, cited infra, has also been lodged separately as it contains
    Mitchell     28 video files reflecting game play from Infinite Warfare. Id.
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                  1 Omar, Private Todd Kashima, and Corporal Sean Brooks (the “Brooks Character”).
                  2 See Lodato Decl., ¶ 8. The Brooks Character is a minor, computer-controlled
                  3 character, who appears only in the single-player campaign mode. Lodato Decl., ¶¶
                  4 8-10. The Brooks Character cannot be controlled by the player. Id., ¶¶ 8-10. The
                  5 Brooks Character is of Irish nationality, speaks with an Irish accent, and wears
                  6 heavy space armor. See Dkt. No. 21-3, Exs. 1, 3-4. The Brooks Character does not
                  7 appear in any other Call of Duty game. Lodato Decl., ¶ 10. The Brooks Character
                  8 also is not mentioned on the game cover (front or back) or in advertisements for the
                  9 game. See, e.g., Dkt. No. 21-3, Exs. 1-2.
                 10         Infinite Warfare’s campaign mode takes approximately six hours to complete,
                 11 and is comprised of seven primary missions and several smaller optional “side”
                 12 missions. See Lodato Decl., ¶ 7. All of the missions in Infinite Warfare are intense,
                 13 action packed military adventures. Id. Not one mission includes or involves banks,
                 14 the stock market, financial management, Wall Street, the U.S. economy, or white-
                 15 collar financial crime. Id.; accord Mayer Decl., ¶ 9. In fact, the game takes place
                 16 almost entirely in space. Id., ¶ 4. Infinite Warfare (like all of the Call of Duty
                 17 games) is an “M” rated game and is not intended to be played by children under 17
                 18 years old. See Dkt. No. 21-3, Exs. 1-2. Infinite Warfare (and all of the other Call of
                 19 Duty games) are available from retail stores (e.g., Amazon, Best Buy, Target) or
                 20 online digital platforms (e.g., Steam, Xbox Live.) See Lodato Decl., ¶ 6.
                 21         C.     Plaintiff Files Its Frivolous Claims.
                 22         On November 30, 2021, five years after Infinite Warfare was released to the
                 23 public, Plaintiff and his counsel filed a complaint against Activision and a wholly
                 24 unrelated, competitor video game company, Rockstar Games, Inc. (“Rockstar”).
                 25 (Rockstar had nothing to do with Call of Duty). In its Complaint, Plaintiff alleges
                 26 that Activision’s Call of Duty video games (especially Infinite Warfare) violate
                 27 Plaintiff’s intellectual property rights. Specifically, Plaintiff asserts claims for (1)
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                  1 federal trademark infringement, in violation of the Lanham Act, 15 U.S.C. § 1114,
                  2 arising from Activision’s alleged use of “the name and mark Sean Brooks as the
                  3 main character in its Call of Duty Games” (Compl., ¶ 31); (2) copyright
                  4 infringement, in violation of the Copyright Act, 17 U.S.C. §§101, et. seq, arising
                  5 from Activision’s alleged copying of Plaintiff’s Save One Bank and Stock Picker
                  6 games (id., ¶ 35); and (3) commercial appropriation of likeness, in violation of Cal.
                  7 Civ. Proc. Code § 3344, arising from Activision’s alleged use of a fictional character
                  8 in Infinite Warfare that incorporates “the likeness, persona, and name of Plaintiff’s
                  9 owner Shon Brooks” (id., ¶ 23).
                 10         D.    Activision Advises Plaintiff’s Counsel Of The Serious Errors and
                 11               Deficiencies In The Complaint.
                 12         After reviewing the Complaint and conducting an initial investigation of the
                 13 factual allegations therein, it was obvious to Activision and its counsel that
                 14 Plaintiff’s allegations were utterly lacking in factual and legal support. See Mayer
                 15 Decl., ¶¶ 3-6. For example, it was clear that the Brooks Character did not use the
                 16 name, image or likeness of Brooks (id., ¶ 4), as illustrated below:
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24 Compare id., Dkt. No. 21-3, Ex. 6 at p. 28 with id., Ex. 3 at p. 16.
                 25         It also was obvious from reviewing Infinite Warfare, its packaging, and its
                 26 advertising that the game is nothing at all like Plaintiffs’ purported game concepts
                 27 for Stock Picker and Save One Bank. Id., ¶ 4. The SHON BROOKS name and
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                  1 “trademark” does not even appear anywhere on Infinite Warfare’s front or back
                  2 cover. See Dkt. No. 21-3, Exs. 1-2.
                  3         In the hopes of resolving this matter before Activision was required to expend
                  4 attorneys’ fees, counsel for Activision promptly advised Plaintiff’s counsel,
                  5 including by phone on December 8, 2021 and by letter dated January 7, 2022, that
                  6 the Complaint contains serious factual misrepresentations and errors and the claims
                  7 are both factually and legally frivolous. See Mayer Decl., ¶¶ 7-8.3 The January 7
                  8 letter provided a detailed discussion (with case citations) as to why the claims were
                  9 without legal merit. See id., ¶ 8 & Ex. 5. The letter indicated that Activision not
                 10 only intended to move to dismiss and/or strike Plaintiff’s claims, but also intended
                 11 to move for Rule 11 sanctions if Plaintiff failed to voluntarily dismiss, or at the very
                 12 least amend, its Complaint. Id., ¶ 8 & Ex. 5.
                 13         On January 26, 2022, counsel for Activision and plaintiff met and conferred
                 14 regarding, inter alia, the basis for Activision’s anticipated Rule 11 motion. Id., ¶¶
                 15 9-11. During that call, Activision’s counsel again explained to Plaintiff’s counsel
                 16 that the allegations did not align with the actual content of Infinite Warfare, and that
                 17 the case law readily confirmed that the claims could not survive. Plaintiff’s counsel
                 18 did not agree to voluntarily dismiss or amend its Complaint. Id., ¶ 10. Instead,
                 19 Plaintiff’s counsel doubled-down on the false allegations, and even attempted to
                 20 justify her decision not to dismiss the Complaint by providing a set of additional
                 21 purported “facts” about the game—all of which were demonstrably false.4 See id.,
                 22 ¶¶ 9, 11 & Ex. 6. Also, during the parties’ meet-and-confer, Plaintiff’s counsel first
                 23
                    3
                      Activision’s counsel has repeatedly requested that Plaintiff’s counsel provide
                 24 copies of the materials that Plaintiff alleges to have been “stolen” by Activision so
                 25 date, Plaintiff’scould
                    that Activision        fully evaluate Plaintiff’s claim. See Mayer Decl., ¶ 8. To
                                      counsel has refused. Id.
                 26   For example, Plaintiff’s counsel claimed that Infinite Warfare takes place on Wall
                      4

                    Street when, in fact, it takes place in space; that the Game involves bank thieves
                 27 when, in fact, it is about a terrorist from Mars who seeks to control the solar system;
                    and that the Brooks Character is a member of “team USA” when, in fact, he is an
    Mitchell     28 Irish national working for a multinational defense group. See Mayer Decl., ¶ 9.
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                  1 claimed that she had played Infinite Warfare “all the way through.” Id., ¶ 11.
                  2 However, when faced with contradictory facts, she admitted that she actually had
                  3 just reviewed some unspecified YouTube video—and that the video may have
                  4 depicted scenes from other Call of Duty games, including those that pre-date
                  5 Activision’s purported access to Plaintiff’s alleged copyrights. See id.
                  6         On February 8, 2022, Activision filed its Motion to Dismiss (the “MTD”) and
                  7 Special Motion to Strike (the “SLAPP Motion”). See Dkt. No. 21. The MTD and
                  8 SLAPP Motion are set for hearing on April 20, 2022. On March 2, 2022, counsel
                  9 for Activision served a copy of this Rule 11 Motion on Plaintiff’s counsel. Id., ¶ 13.
                 10 Because Plaintiff did not withdraw or appropriately correct the Complaint within
                 11 twenty-one days after service, Activision has proceeded to file the instant Rule 11
                 12 Motion. See Fed. R. Civ. P. 11(c)(2).
                 13
                 14 II.     PLAINTIFF’S COMPLAINT VIOLATES RULE 11.
                 15         A fundamental purpose of Rule 11 of the Federal Rules of Civil Procedure is
                 16 to “reduce frivolous claims” and “deter costly meritless maneuvers,” thereby
                 17 “avoid[ing] delay and unnecessary expense in litigation.” Christian v. Mattel, Inc.,
                 18 286 F.3d 1118, 1127 (9th Cir. 2002) (citation omitted). To this end, Rule 11
                 19 provides in pertinent part as follows:
                 20               (b) Representations to the Court. By presenting to the
                                  court a pleading, written motion, or other paper—
                 21               whether by signing, filing, submitting, or later advocating
                                  it—an attorney or unrepresented party certifies that to the
                 22               best of the person’s knowledge, information, and belief,
                                  formed after an inquiry reasonable under the
                 23               circumstances:
                 24               (1) it is not being presented for any improper purpose,
                                  such as to harass, cause unnecessary delay, or needlessly
                 25               increase the cost of litigation;
                 26               (2) the claims, defenses, and other legal contentions are
                                  warranted by existing law or by a nonfrivolous argument
                 27               for extending, modifying, or reversing existing law or for
                                  establishing new law;
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                                   (3) the factual contentions have evidentiary support or, if
                  2                specifically so identified, will likely have evidentiary
                                   support after a reasonable opportunity for further
                  3                investigation or discovery; . . .
                  4 Fed. R. Civ. P. 11(b)(1)-(3).
                  5         Rule 11 is intended to prompt attorneys “to validate the truth and legal
                  6 reasonableness of the papers filed.” Business Guides, Inc. v. Chromatic Commc’ns
                  7 Enters., Inc., 498 U.S. 533, 547 (1991). An attorney’s signature “certifies to the
                  8 court that the signer has read the document, has conducted a reasonable inquiry into
                  9 the facts and the law and is satisfied that the document is well grounded in both, and
                 10 is acting without any improper motive.” Id. at 542. The Ninth Circuit has explained
                 11 that, “[a]n attorney’s signature on a complaint is tantamount to a warranty that the
                 12 complaint is well grounded in fact and ‘existing law’ (or proposes a good faith
                 13 extension of the existing law) and that it is not filed for an improper purpose.”
                 14 Christian, 286 F.3d at 1127 (citations omitted).
                 15         When, as here, a “complaint is the primary focus of Rule 11 proceedings, a
                 16 district court must conduct a two-prong inquiry to determine (1) whether the
                 17 complaint is legally or factually baseless from an objective perspective, and (2) if
                 18 the attorney has conducted a reasonable and competent inquiry before signing and
                 19 filing it.” Holgate v. Baldwin, 425 F.3d 671, 676 (9th Cir. 2005). “As shorthand for
                 20 this test, [the Ninth Circuit] use[s] the word ‘frivolous’ to denote a filing that is both
                 21 baseless and made without a reasonable and competent inquiry.” Id. (emphasis in
                 22 original and citation omitted). Courts apply a purely objective standard in assessing
                 23 whether the attorney’s inquiry was reasonable. See Business Guides, Inc. v.
                 24 Chromatic Commc’ns Enters., Inc., 892 F.2d 802, 812 (1989). Thus, Rule 11
                 25 applies even in the absence of subjective bad faith. See Hudson v. Moore Bus.
                 26 Forms, Inc., 836 F.2d 1156, 1159 (9th Cir. 1987).
                 27
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                  1         The duty to perform a reasonable factual inquiry under Rule 11 “is not a one
                  2 time obligation,” as “Plaintiff is impressed with the continuing responsibility to
                  3 review and reevaluate his pleadings” so that if it is later found that a factual
                  4 allegation lacks evidentiary support, it is to be withdrawn. See Fed. R. Civ. P. 11,
                  5 1993 Adv. Comm. Notes (“[I]f evidentiary support is not obtained after a reasonable
                  6 opportunity for further investigation or discovery, the party has a duty under the rule
                  7 not to persist with that contention.”). Moreover, “Rule 11 does not prevent the
                  8 imposition of sanctions where it is shown that the Rule was violated as to a portion
                  9 of a pleading, even though it was not violated as to other portions.” Patterson v.
                 10 Aiken, 841 F.2d 386, 387 (11th Cir. 1988). Even “[i]ndividual factual
                 11 misrepresentations in a pleading can be sanctionable under Rule 11.” Heller v.
                 12 Cepia L.L.C., 560 F. App’x 678 (9th Cir. 2014) (citing Truesdell v. S. Cal,.
                 13 Permanente Med. Grp., 293 F.3d 1146, 1153 (9th Cir. 2002)).
                 14         A.     Plaintiff’s Claims Are Based On False And Unsupported Factual
                 15                Allegations.
                 16         By signing a pleading, an attorney certifies that “the factual contentions have
                 17 evidentiary support or, if specifically so identified, will likely have evidentiary
                 18 support after a reasonable opportunity for further investigation or discovery.” Fed.
                 19 R. Civ. P. 11(b)(3); Moser v. Bret Harte Union High Sch. Dist., 366 F. Supp. 2d
                 20 944, 979 (E.D. Cal. 2005) (Rule 11 violated where attorney “presents ‘facts’ and
                 21 ‘law’ to the Court that are plainly wrong or misleading”). This certification
                 22 contemplates that the attorney “conduct[ed] a reasonable inquiry into the facts
                 23 …before filing” the pleading with the court. Business Guides, 498 U.S. at 551
                 24 (emphasis added) (affirming application of objective standard to Rule 11 and
                 25 upholding sanctions against party for filing complaint of copyright infringement
                 26 with no factual basis). This pre-filing duty to find supporting facts is “not satisfied
                 27
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                  1 by rumor or hunch.” Ingenuity 13 LLC v. Doe, No. 212-CV-08333-ODW-JC, 2013
                  2 WL 765102, at *1 (C.D. Cal. Feb. 7, 2013) (citation omitted).
                  3         Numerous allegations in the Complaint are “factually ‘baseless’ from an
                  4 objective perspective.” Christian, 286 F.3d at 1127. In fact, the allegations
                  5 confirm, without question, that counsel completely failed to engage in any pre-filing
                  6 investigation, and never even took the time to play any Call of Duty game, including
                  7 (and especially) Infinite Warfare. Had counsel actually played Infinite Warfare (or
                  8 watched someone playing the game), they would have immediately realized that
                  9 nearly all (if not all) of the allegations concerning Activision and the Call of Duty
                 10 games are demonstrably and obviously false, including the following:
                 11
                 12                  Allegation                                    Facts
                 13   “Defendants are using Sean Brooks as       The Brooks Character does not appear
                      its main character in ‘Call of Duty.’”     in any Call of Duty game other than
                 14   Compl., ¶ 23.                              Infinite Warfare. See Lodato Decl., ¶
                 15                                              10. In Infinite Warfare, the Brooks
                                                                 Character is not the “main character”;
                 16                                              he is a minor supporting character who
                 17                                              is not controlled by the user in the
                                                                 game, does not appear until almost
                 18                                              halfway through the campaign, and has
                 19                                              very few lines of dialogue. Id., ¶¶ 8-9;
                                                                 see also Mayer Decl., ¶ 4.
                 20
                 21   The Brooks Character “uses the             The Brooks Character does not bear
                      likeness, persona, and name of             even the slightest resemblance to Shon
                 22   Plaintiff’s owner Shon Brooks.”            Brooks, and does not even use Shon
                 23   Compl., ¶ 23.                              Brooks’ name. See Mayer Decl., ¶ 4.
                 24   The Brooks Character is “the main          Activision does not offer a “gambling”
                 25   character in [Activision’s] gambling       platform or a “subscription” to play all
                      platform which contains all of             of its games, and it has never done so.
                 26   [Activision’s] on e-subscription.”         See Lodato Decl., ¶ 5.
                 27   Compl., ¶ 25
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                 1    “Defendants… conduct global esports       Neither the Brooks Character nor the
                 2    playoffs and championships… which         name “Sean Brooks” ever was used in
                      infringe upon … the mark and name         connection with esports events run by
                 3    SHON BROOKS.” Compl., ¶ 26.               Activision. See Lodato Decl., ¶ 10.
                 4                                              The Brooks Character also is not a
                                                                playable character and does not appear
                 5                                              in any competitive multiplayer matches.
                 6                                              Id., ¶¶ 8, 10.

                 7    “Sean (Shon) Brooks has missiles at his   The Brooks Character is an infantry
                 8    disposal.” Compl., ¶ 28(a).               soldier who engages in ground combat
                                                                in space. See Lodato Decl., ¶ 9.
                 9
                 10   “Call of Duty … is played in First        The Call of Duty games are first-person
                      Person Shooter and Third Person           shooter games, not third-person. See
                 11   Shooter.” Compl., ¶ 28(b).                Lodato Decl., ¶ 3.
                 12
                      “Sean Brooks in the Call of Duty          The Brooks Character does not have
                 13   game… [has] unlimited resources.”         “resources”; he is a computer-controlled
                 14   Compl., ¶ 28(e).                          character with limited lines that follows
                                                                the user’s character during missions.
                 15                                             See Lodato Decl., ¶ 9; see also Dkt. No.
                 16                                             21-3, Exs. 1, 4.
                 17
                      “Shon Brooks controls character during    The Brooks Character is not playable,
                 18   a single and multiplayer campaign and     either in the single-player campaign or
                      experience.” Compl., ¶ 28(g).             the multiplayer mode. See Lodato
                 19
                                                                Decl., ¶¶ 8, 10. He is a computer-
                 20                                             controlled character. Id., ¶ 8.
                 21
                      “Sean Brooks scripted battle scenes       While there is a scene in Infinite
                 22   take place in a high fashion couture      Warfare that takes place in a shopping
                      shopping mall.” Compl., ¶ 28(k).          mall (in far future Geneva), the Brooks
                 23
                                                                Character is not in the scene (and has
                 24                                             not even been introduced to the story
                 25                                             when that scene takes place.) See
                                                                Lodato Decl., ¶ 9.
                 26
                 27
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                  1         These are not facts that can be subject to reasonable debate or discussion, and
                  2 they certainly do not have the modicum of “evidentiary support” required under
                  3 Rule 11. Nor do any of these facts require discovery. The Call of Duty games,
                  4 including Infinite Warfare, speak for themselves. See Dkt. No. 21-3, Ex. 1. Each is
                  5 available to the public, both in tangible and digital form. See Lodato Decl., ¶ 6.
                  6 Counsel very easily could have verified the content of the game and the truthfulness
                  7 of its allegations simply by purchasing and playing the game(s) (or directing an
                  8 associate or paralegal to do so.) See Mayer Decl., ¶¶ 3-4. For that matter, even a
                  9 simple Internet search would have confirmed that the Brooks Character is not the
                 10 main character, is not a playable character, and does not look or act like Shon
                 11 Brooks. See id., ¶ 4.
                 12         Moreover, since the games are central to Plaintiff’s claims in this action, there
                 13 is no excuse for not having reviewed them before filing this lawsuit. See, e.g.,
                 14 Christian, 286 F.3d at 1129 (affirming Rule 11 sanctions where attorney “would
                 15 have been able to discover the copyright information [which rendered the plaintiff’s
                 16 claim frivolous] by examining the doll heads” plaintiff claimed were infringing);
                 17 Refac Int’l, Ltd. v. Hitachi, Ltd., 141 F.R.D. 281, 286 (C.D. Cal. 1991) (imposing
                 18 Rule 11 sanctions where “not all of the accused products were examined before the
                 19 filing of the complaint”); see also Valve & Primer Corp. v. Val-Matic Valve & Mfg.
                 20 Corp., No. 87 C 8726, 1990 WL 129360, at *3 (N.D. Ill. Aug. 24, 1990) (imposing
                 21 Rule 11 sanctions; “In a copyright action, pre-filing inquiry at the very least entails
                 22 reviewing: (1) a client’s copyright registrations; (2) the [work] … for which
                 23 copyright protection is claimed, and (3) the [work] of the alleged infringer to ensure
                 24 that a reasonable basis for a copyright violation claim exists.”), aff’d, 940 F.2d 666
                 25 (7th Cir. 1991). Plaintiffs’ counsel, an “AmLaw 200” firm with “nearly 200
                 26 industry-focused attorneys” certainly had the resources to conduct a serious
                 27 investigation before filing the lawsuit. See Mayer Decl., ¶ 2 & Exs. 1-2.
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                  1         The false allegations concerning the Call of Duty and Infinite Warfare games
                  2 are just the tip of the iceberg. Any serious investigation by competent counsel
                  3 would have revealed a whole host of other falsehoods. Most notably, while the
                  4 Complaint alleges a series of “talks,” “meetings,” and “negotiations” between
                  5 Activision and Brooks (Compl., ¶¶ 19-20), but fails to attach any of the alleged
                  6 communications. Notably, the only Activision employee that Plaintiff names in its
                  7 Complaint is Gordon Hall. Compl., ¶ 19. The reality is that Hall worked for a short
                  8 time at a studio in Leeds, England called Blast Furnace. See Lodato Decl., ¶¶ 11-
                  9 12. This studio only developed mobile games (not the Call of Duty console games
                 10 at issue), and was shut down in March 2014, nine months before Plaintiff claims to
                 11 have contacted him (in December 2014.) Id., ¶ 12.
                 12         Even the allegations in the Complaint about Plaintiff are false. For example,
                 13 Plaintiff (1) could not have “first used” the SHON BROOKS Mark “in commerce”
                 14 in the 1980s, because Plaintiff did not exist until 2002 (Compl., ¶ 9); (2) never
                 15 created “content, a platform, concepts, and graphics” for video games (id., ¶ 12); (3)
                 16 does not distribute “computer technology toys” (id., ¶ 16); and (4) does not have a
                 17 television series that has “continuously aired” since 2014 (id., ¶ 18). See Mayer
                 18 Decl., ¶ 6. One of the more bizarre allegations in the Complaint is that Shon Brooks
                 19 “appeared on the Simpsons.” Compl., ¶ 11. That never happened. What did
                 20 apparently happen is that Brooks attended a party, where he took a photograph with
                 21 actors dressed as Bart and Lisa Simpson. See id., ¶ 6; Dkt. No. 21-3, Ex. 6 at pp.
                 22 209-11.
                 23         B.    Plaintiff’s Claims Are Legally Baseless.
                 24         By signing a pleading, an attorney also certifies that the claims therein are
                 25 “warranted by existing law or by a nonfrivolous argument for the extension,
                 26 modification, or reversal of existing law or the establishment of new law.” Holgate
                 27 v. Baldwin, 425 F.3d 671, 676-77 (9th Cir. 2005). A claim is “legally baseless,” and
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                  1 thus sanctionable under Rule 11, “where no ‘plausible, good faith argument can be
                  2 made by a competent attorney’ in support of the proposition asserted.” Goel v.
                  3 Coal. Am. Holding Co., Inc., No. CV 11-02349 JGB (EX), 2013 WL 12122302, at
                  4 *6 (C.D. Cal. Feb. 26, 2013) (citation omitted).
                  5         As set forth in the MTD and SLAPP Motion, even if all of the allegations in
                  6 the Complaint were true (which they are not), any lawyer with even the most
                  7 rudimentary knowledge of intellectual property law—let alone experienced
                  8 intellectual property counsel at a prestigious law firm such as Procopio—should
                  9 have known that each and every one of the claims could not survive as a matter of
                 10 law. In fact, each of Plaintiff’s claims are directly refuted by well-established Ninth
                 11 Circuit or California law:
                 12         Trademark Infringement. The law is absolutely clear that Activision’s use
                 13 of the name “Sean Brooks” in Infinite Warfare is protected by the First Amendment.
                 14 The basic principles regarding the use of trademarks in expressive works were
                 15 established more than twenty years ago in Rogers v. Grimaldi, 875 F.2d 994 (2d Cir.
                 16 1989). Since then, nearly a dozen cases (including three cases involving Call of
                 17 Duty) have confirmed that the First Amendment bars trademark infringement claims
                 18 based on the use of the mark in or on a video game. See, e.g., Brown v. Elec. Arts,
                 19 Inc., 724 F.3d 1235, 1248 (9th Cir. 2013) (rejecting Lanham Act claim arising from
                 20 use of plaintiff’s likeness in Madden NFL video game because it is barred by the
                 21 First Amendment pursuant to Rogers); E.S.S. Ent. 2000, Inc. v. Rock Star Videos,
                 22 Inc., 547 F.3d 1095, 1099 (9th Cir. 2008) (same, use of name and likeness of
                 23 plaintiff’s Los Angeles strip club in the Grand Theft Auto: San Andreas video
                 24 game); VIRAG, S.R.L. v. Sony Computer Ent. Am. LLC, No. 3:15-CV-01729-LB,
                 25 2015 WL 5000102, at *12 (N.D. Cal. Aug. 21, 2015) (same, use of trademark as
                 26 signage on a virtual racetrack in video game); Novalogic, Inc. v. Activision Blizzard,
                 27 41 F. Supp. 3d 885, 889 (C.D. Cal. 2013) (same, use of plaintiff’s mark “Delta
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                  1 Force” and related logo in Call of Duty: Modern Warfare 3 video game); Mil-Spec
                  2 Monkey, Inc. v. Activision Blizzard, Inc., 74 F. Supp. 3d 1134 (N.D. Cal. 2014)
                  3 (same, use of plaintiff’s “angry monkey” mark in Call of Duty: Ghosts video game);
                  4 AM Gen. LLC v. Activision Blizzard, Inc., 450 F. Supp. 3d 467, 480 (S.D.N.Y.
                  5 2020) (same, depiction of “Humvee” vehicles in Call of Duty video game);
                  6 Rebellion Devs. Ltd. v. Stardock Ent., Inc., No. 12-12805, 2013 WL 1944888 at *6
                  7 (E.D. Mich. May 9, 2013) (same, use of plaintiff’s mark “Rebellion” in title of video
                  8 game); Dillinger, LLC v. Elec. Arts Inc., No. 1:09-CV-1236-JMS-DKL, 2011 WL
                  9 2457678 at *8 (S.D. Ind. June 16, 2011) (same, use of plaintiff’s name “Dillinger”
                 10 weapon in video game). Moreover, all of these cases involved much more
                 11 compelling factual circumstances; not the mere coincidental overlap of a character
                 12 name with someone’s real name.
                 13         Copyright Infringement. Plaintiff’s copyright infringement claim ignores
                 14 the basic, bedrock tenet that copyright law does not protect ideas. See 17 U.S.C. §
                 15 102(b) (“In no case does copyright protection for an original work of authorship
                 16 extend to any idea [or] concept.”); Cavalier v. Random House, Inc., 297 F.3d 815,
                 17 822 (9th Cir. 2002) (courts must take care to “filter out and disregard the non-
                 18 protectible elements” and “inquire only whether the protectible elements, standing
                 19 alone, are substantially similar”) (emphasis in original). Plaintiff’s counsel certainly
                 20 knows this. Nevertheless, Plaintiff’s entire copyright infringement claim is based
                 21 upon alleged similarities in unprotectable expression, including scenes-à-faire (e.g.,
                 22 “exotic and action-packed locations”), familiar stock themes (e.g., “bring[ing]
                 23 thieves to justice”), non-distinct characters (e.g., individuals with “unlimited
                 24 resources”), and game mechanics (e.g., “day and night mode”). See Compl., ¶ 28.
                 25 This alone is sufficient to justify the imposition of Rule 11 sanctions. See Braham
                 26 v. Sony/ATV Music Publ’g, No. 215CV8422MWFGJSX, 2015 WL 7074571, at *4
                 27 (C.D. Cal. Nov. 10, 2015) (cautioning plaintiff that filing copyright infringement
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                  1 claim based on unoriginal components of his work may “conflict with his duty
                  2 under Federal Rule of Civil Procedure 11 not to make factually or legally baseless
                  3 claims”).
                  4         Underscoring the frivolous nature of Plaintiff’s copyright infringement claim,
                  5 Plaintiff’s counsel not only failed to attach the allegedly infringed games to the
                  6 Complaint, but also has refused Activision’s counsel’s repeated requests for copies
                  7 of the games. See Mayer Dec., ¶ 7.5 Plaintiff’s counsel’s deliberate concealment of
                  8 the games—thereby preventing Activision (and the Court) from comparing the
                  9 works at issue side-by-side—is tantamount to bad faith and confirms their
                 10 knowledge that Plaintiff’s copyright infringement claim is baseless. See Esplanade
                 11 Prods., Inc. v. Walt Disney Co., No. CV1702185MWFJCX, 2017 WL 5635024, at
                 12 *10 (C.D. Cal. July 11, 2017) (plaintiff’s “failure to [attach or] include, at the least,
                 13 any clear summary of [plaintiff’s work] … indicates, on some level, that [the
                 14 plaintiff] believed including those details would have been detrimental to its
                 15 [copyright] claims”).
                 16         Right of Publicity. Counsel’s decision to assert this claim is
                 17 incomprehensible. Other than a common sounding name, there is not a single point
                 18 of resemblance between Plaintiff’s owner, Shon Brooks (the financial consultant),
                 19 and the Brooks Character. See Mayer Decl., ¶ 4. A few minutes of legal research
                 20 would have confirmed that this claim could not survive. See, e.g., Aguilar v.
                 21 Universal City Studios, Inc., 174 Cal. App. 3d 384, 391 (Ct. App. 1985) (rejecting
                 22 claim by Bertha Aguilar that film character named “Bertha” was based on her
                 23 because the plaintiff’s life experiences were “so dissimilar” to the “Bertha”
                 24 character that “no reasonable person could connect the two”); Polydoros v.
                 25
                 26  As set forth in the MTD, Plaintiff’s failure to attach, describe, or even include
                      5

                    images from its purported games in the Complaint is independently fatal to its
                 27 copyright infringement claim. Notably, unlike the Call of Duty games, Plaintiff’s
                    purported games, Save One Bank and Stock Picker, are not readily available for
    Mitchell     28 purchase. Id., ¶ 5.
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                  1 Twentieth Century Fox Film Corp., 67 Cal. App. 4th 318, 322-23 (1997) (rejecting
                  2 claim by Michael Polydoros that a film character named “Michael Palledourous”
                  3 was based on him, because despite some similarities, “no person seeing this film
                  4 could confuse the [plaintiff and the fictional character]”); Washington v. Take-Two
                  5 Interactive Software, Inc., 2012 WL 5359709 at *11 (Cal. App. Oct. 31, 2012)
                  6 (rejecting claim that video game character was based on plaintiff because “there is
                  7 not a single feature that directly links [the character] to the plaintiff, such as
                  8 ‘distinctive tattoos, birthmarks, or other physical features”).
                  9                                        *     *      *
                 10         Given the well-established authority refuting each of Plaintiff’s claims, no
                 11 attorney conducting an objectively reasonable inquiry could claim in good faith that
                 12 such claims were warranted under existing law. It is inconceivable that Plaintiff’s
                 13 counsel—who are highly trained and experienced intellectual property lawyers (see
                 14 Mayer Decl., Exs. 3-4)—did not know this. See, e.g., Huettig & Schromm, Inc. v.
                 15 Landscape Contractors Council of N. Cal., 790 F.2d 1421, 1427 (9th Cir. 1986)
                 16 (affirming imposition of Rule 11 sanctions on experienced law practitioners who
                 17 “must have known” the claim asserted was invalid). In any event, Plaintiff’s
                 18 counsel cannot “avoid the sting of Rule 11 sanctions by operating under the guise of
                 19 a pure heart and empty head,” Smith v. Ricks, 31 F.3d 1478, 1488 (9th Cir. 1994),
                 20 especially after Activision’s counsel brought the numerous issues with Plaintiff’s
                 21 Complaint to their attention. See Mayer Decl., ¶¶ 7-11.
                 22
                 23 III.    THE COURT SHOULD STRIKE THE COMPLAINT AND AWARD
                 24         ACTIVISION ITS ATTORNEYS’ FEES AS A SANCTION FOR
                 25         COUNSEL’S RULE 11 VIOLATIONS.
                 26         Under these circumstances, it is appropriate both to strike Plaintiff’s
                 27 Complaint as against Activision with prejudice and impose monetary sanctions on
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   Knupp LLP
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                  1 Plaintiff’s counsel of record. The Court has broad discretion in fashioning an
                  2 appropriate sanction for a Rule 11 violation. See Mellow v. Sacramento Cty., 365 F.
                  3 App’x 57, 58 (9th Cir. 2010); Hudson, 836 F.2d at 1163 (“The district court has
                  4 wide discretion in determining the appropriate sanction for a Rule 11 violation.”).
                  5 The sanction imposed must “suffice[] to deter repetition of the conduct or
                  6 comparable conduct by others similarly situated.” Fed. R. Civ. P. 11(c)(4).
                  7         Striking the offending pleading is appropriate remedy for a Rule 11 violation.
                  8 See Fed. R. Civ. P. 11, 1993 Adv. Comm. Notes (nonmonetary sanctions include
                  9 “striking the offending paper”). Accordingly, to the extent the Complaint has not
                 10 already been dismissed pursuant to Activision’s pending MTD and SLAPP Motion,
                 11 Activision respectfully requests that the Court strike Plaintiff’s Complaint with
                 12 prejudice and terminate the action as against Activision. See Combs v. Rockwell
                 13 Int’l Corp., 927 F.2d 486, 488 (9th Cir. 1991) (dismissal with prejudice appropriate
                 14 under Rule 11); Gionis v. Cal. Bureau for Private Postsecondary Educ., No. 2:13-
                 15 CV-00912-MCE, 2014 WL 466276, at *4 (E.D. Cal. Feb. 5, 2014) (imposing
                 16 terminating sanctions under Rule 11 for filing frivolous complaint).
                 17         In addition, Activision has been forced to expend a substantial amount of
                 18 money to defend itself against Plaintiff’s frivolous claims, including by researching
                 19 and investigating the claims, collecting documentary evidence, preparing a motion
                 20 to dismiss and SLAPP motion, and engaging in conferences with Plaintiff’s counsel.
                 21 On a motion, and if warranted for effective deterrence, the Court may order
                 22 “payment to the movant of part or all of the reasonable attorney’s fees and other
                 23 expenses directly resulting from the violation.” Fed. R. Civ. P. 11(c)(4). “Where
                 24 the original complaint is the improper pleading, all attorney fees reasonably incurred
                 25 in defending against the claims asserted in the complaint form the proper basis for
                 26 sanctions.” Gaskell v. Weir, 10 F.3d 626, 629 (9th Cir. 1993); see also Kunimoto v.
                 27 Fidell, 26 F. App’x 630, 633 (9th Cir. 2001) (affirming award of attorneys’ fees
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                  1 under Rule 11 for filing frivolous complaint); Truesdell v. S. Cal. Permanente Med.
                  2 Grp., 209 F.R.D. 169, 178 (C.D. Cal. 2002) (“an appropriate sanction is
                  3 reimbursement of those attorneys’ fees and costs reasonably expended by Defendant
                  4 as a result of [the] unwarranted filing” of a complaint).
                  5         Activision therefore respectfully requests that the Court order Plaintiff’s
                  6 counsel to pay all of the reasonable attorney’s fees and costs that Activision
                  7 needlessly incurred in defending against Plaintiff’s frivolous claims, including the
                  8 fees incurred for bringing this Rule 11 Motion. See Fed. R. Civ. P. 11(c)(2) (“If
                  9 warranted, the court may award to the prevailing party the reasonable expenses,
                 10 including attorney’s fees, incurred for the [Rule 11] motion.”); ADO Fin., AG v.
                 11 McDonnell Douglas Corp., 938 F. Supp. 590, 597 (C.D. Cal. 1996) (allowing
                 12 defendant “to recover the fees and expenses incurred in prosecuting the Rule 11
                 13 motion”). Given the gravity of Plaintiff and its counsel’s conduct and the
                 14 fundamental nature of the facts that they failed to investigate, a monetary award is
                 15 necessary to deter future improper conduct by Plaintiff’s counsel or others similarly
                 16 situated. See Fed. R. Civ. P. 11(b)(2), (4).
                 17         The monetary sanctions sought herein should be imposed jointly against
                 18 Plaintiff’s counsel and their law firm, Procopio. See Fed. R. Civ. P. 11(c)(1)
                 19 (“Absent exceptional circumstances, a law firm must be held jointly responsible for
                 20 a violation committed by its partner, associate, or employee.”). Activision is
                 21 prepared to promptly submit an application for its reasonable attorneys’ fees and
                 22 costs in connection with such appropriate sanctions.
                 23
                 24 IV.     CONCLUSION
                 25         Activision respectfully requests that the Court grant its motion for sanctions
                 26 pursuant to Rule 11 and enter an order (1) dismissing Plaintiff’s Complaint as
                 27 against Activision with prejudice; and (2) directing Plaintiff’s counsel (and their law
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                 1 firm) to pay all of Activision’s reasonable attorneys’ fees and costs incurred in
                 2 defending itself in this action; and (3) imposing any other sanctions sufficient to
                 3 deter repetition of Plaintiff’s and its counsel’s improper conduct.
                 4
                      DATED: MARCH 2, 2022                 RESPECTFULLY SUBMITTED,
                 5
                                                           MARC E. MAYER
                 6                                         KARIN G. PAGNANELLI
                                                           MITCHELL SILBERBERG & KNUPP LLP
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                                                           By:
                 9                                               Marc E. Mayer
                                                                 Attorneys for Defendant
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